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                [ORAL ARGUMENT NOT YET SCHEDULED]

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

_________________________________________
                                         )
AMERICAN MUNICIPAL POWER, INC.,          )
et al.,                                  )
                                         )               Nos. 20-1372, 20-1373,
           Petitioners,                  )               20-1374
                                         )               (consol.)
        v.                               )
                                         )
FEDERAL ENERGY REGULATORY                )
COMMISSION,                              )
                                         )
           Respondent.                   )
________________________________________ )

 MOTION OF EXELON CORPORATION FOR LEAVE TO INTERVENE
               IN SUPPORT OF RESPONDENT

      Pursuant to Federal Rule of Appellate Procedure 15(d) and Circuit Rule 15(b),

Exelon Corporation (“Exelon”) moves for leave to intervene in support of

Respondent Federal Energy Regulatory Commission (“FERC”) in the above-

captioned consolidated cases. These cases concern a final Order issued by FERC

relating to certain revisions to the tariffs and agreements of PJM Interconnection,

L.L.C. (“PJM”). See 171 FERC ¶ 61,153 (2020) (Order on Proposed Tariff and

Operating Agreement Revisions, or “Order”). PJM is the Regional Transmission

Organization responsible for administering the wholesale electricity markets for




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portions of 13 states and the District of Columbia. Rehearing was denied by

operation of law. See 172 FERC ¶ 62,029 (2020).1

      This motion is timely. The petition for review in Docket No. 20-1372 was

filed on September 18, 2020. This motion is being filed within 30 days of the

petition for review. See Fed. R. App. P. 15(d). Exelon participated fully in the

proceedings before the agency, and its interests would be significantly and adversely

affected by a decision in favor of the petitioners. Accordingly, this Court should

grant Exelon’s motion to intervene.

                                  BACKGROUND

      Exelon is one of the country’s largest competitive power generators with

operations and business activities in 49 states, the District of Columbia, and Canada.

It owns more than 21,000 MW of electric generation in the PJM region—including

numerous nuclear generating stations—and is one of PJM’s largest generators of

electricity. Exelon also owns six electric utilities in the PJM region, serving

approximately 10 million customers.




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  FERC’s order denying rehearing indicates that the agency intends nevertheless to
issue an order addressing the arguments made in the various petitions for
rehearing. Petitioners state that they have filed their petition out of an abundance
of caution, in light of this Court’s ruling in Allegheny Defense Project v. FERC,
964 F.3d 1 (D.C. Cir. 2020) (en banc). Exelon files this intervention motion to
protect its rights to participate in this appeal, in the event that FERC does not issue
any subsequent order resulting in a further petition for review.

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      The FERC order under review concerns PJM’s method for valuing and

procuring reserves—that is, generation resources that may be needed to respond to

real-time contingencies, such as a higher than expected demand or unexpected

outages at other plants. FERC found that PJM’s existing framework for valuing and

procuring reserves was unjust and unreasonable, because “its reserve market is

systematically failing to acquire within-market the reserves necessary to operate its

system reliably, to yield market prices that reasonably reflect the marginal cost of

procuring necessary reserves, and to send appropriate price signals for efficient

resource investment.” Order at P 74.

      To address these problems, FERC directed a variety of reforms. These

included consolidating what had been two separate reserve products receiving

different price signals into a single reserve product with uniform compensation,

Order at P 115; increasing the maximum price that can be charged for reserves in

order to better reflect the cost of actions needed to preserve reliability, Order at P

153; and adopting a downward sloping demand curve for reserves that will reduce

the need for PJM’s operators to take administrative, out-of-market actions to ensure

reliability. Order at P 219.

      Exelon actively participated in the proceedings before the agency in support

of the positions ultimately adopted by FERC. It submitted comments as well as

expert testimony. See Comments of Exelon Corp., FERC Docket Nos. EL19-58,



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ER19-1486 (May 15, 2019) & Ex. A (affidavit of Michael M. Schnitzer); Reply

Comments of Exelon Corp., FERC Docket Nos. E19-58, ER19-1486 (June 19,

2019).

                                   ARGUMENT

      Pursuant to Federal Rule of Appellate Procedure 15(d) and Circuit Rule 15(b),

Exelon’s motion to intervene is proper and should be granted. Federal Rule of

Appellate Procedure 15(d) provides that a motion to intervene “must be filed within

30 days after the petition for review is filed and must contain a concise statement of

the interest of the moving party and the grounds for intervention.” Fed. R. App. P.

15(d). This rule “simply requires the intervenor to file a motion setting forth its

interest and the grounds on which intervention is sought.” Synovus Fin. Corp. v. Bd.

of Governors of Fed. Reserve Sys., 952 F.2d 426, 433 (D.C. Cir. 1991).

      Exelon has a direct and substantial interest in the substance of these

proceedings. As the owner of substantial generation facilities in the PJM region,

Exelon will benefit financially from the Order, including from FERC’s decision to

price reserves in a uniform manner and to increase the maximum price that can be

charged for reserves. And as the owner of several utilities serving millions of

customers in the PJM region, Exelon has a strong interest in ensuring that PJM’s

framework for valuing and procuring reserves is sufficient to ensure reliability for




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its customers, and that it does so in an efficient manner that avoids the need for PJM

operators to take out-of-market administrative actions to obtain required reserves.

      Moreover, Exelon’s participation in the PJM market, both as a generator and

as a load-serving entity, is governed by the tariffs and agreements promulgated by

PJM and approved by FERC. This Court has routinely allowed parties to intervene

on appeal from an agency’s final rule when their own regulatory obligations are at

issue. See, e.g., EME Homer City Generation L.P. v. EPA, 795 F.3d 118 (D.C. Cir.

2015); Monroe Energy, LLC v. EPA, 750 F.3d 909 (D.C. Cir. 2014); Daimler Trucks

N. Am. LLC v. EPA, 737 F.3d 95 (D.C. Cir. 2013). It should do the same here.

                                  CONCLUSION

      For the foregoing reasons, this Court should grant Exelon’s motion to

intervene in support of Respondent. Pursuant to Circuit Rule 15(d), the Court should

also allow Exelon to intervene in “all cases before this court involving” the Orders.



Dated: October 19, 2020                       Respectfully submitted,

                                              /s/ Matthew E. Price
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                                              Counsel for Exelon Corporation



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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to D.C. Circuit Rule 26.1 and Federal Rule of Appellate Procedure

26.1, Intervenor-Movant Exelon Corporation respectfully submits the following

corporate disclosure statement:

      Exelon Corporation is a utility and generator of electricity and is a publicly

traded company. It has no parent company, and no publicly traded company owns

10 percent or more of its shares.


Dated: October 19, 2020                       /s/ Matthew E. Price

                                              Counsel for Exelon Corporation
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                CERTIFICATE AS TO PARTIES AND AMICI

   Pursuant to Circuit Rules 27(a)(1)(4) and 28(a)(1)(A), Movant-Intervenor Exelon

Corporation states that the parties in this Court are:

    Petitioners:

          o Case No. 20-1372: American Municipal Power, Inc; American Public

             Power Association; Delaware Division of the Public Advocate; Office

             of the People’s Counsel for the District of Columbia; Maryland Office

             of People’s Counsel; New Jersey Division of Rate Counsel;

             Pennsylvania Office of Consumer Advocate; PJM Industrial Customer

             Coalition

          o Case No. 20-1373: Independent Market Monitor for PJM

          o Case No. 20-1374: Old Dominion Electric Cooperative

    Respondent: Federal Energy Regulatory Commission

    Movant-Intervenors: PJM Interconnection, L.L.C.; Exelon Corporation


   There are no amici at this time.

                                               /s/ Matthew E. Price

                                               Counsel for Exelon Corporation
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 19, 2020, I caused the foregoing Motion of

Exelon Corporation for Leave to Intervene in Support of Respondent to be served

via this Court’s CM/ECF system on all counsel of record.



Dated: October 19, 2020                       /s/ Matthew E. Price

                                              Counsel for Exelon Corporation
